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1                              UNITED STATES DISTRICT COURT
2                                      DISTRICT OF NEVADA
3     TYRONE NOEL NUNN,                                    Case No. 2:24-cv-01984-GMN-BNW
4                                            Plaintiff                     ORDER
5            v.
6     UNITED STATES,
7                                         Defendant
8
9           On October 22, 2024, pro se plaintiff Tyrone Noel Nunn, an inmate in the custody
10   of the Nevada Department of Corrections, submitted a complaint under 42 U.S.C. § 1983.
11   (ECF No. 1-1). Plaintiff has neither paid the full $405 filing fee for this matter nor filed an
12   application to proceed in forma pauperis. (See ECF No. 1).
13   I.     DISCUSSION
14          The United States District Court for the District of Nevada must collect filing fees
15   from parties initiating civil actions. 28 U.S.C. § 1914(a). As of December 1, 2023, the fee
16   for filing a civil-rights action is $405, which includes the $350 filing fee and the $55
17   administrative fee. See 28 U.S.C. § 1914(b). “Any person who is unable to prepay the
18   fees in a civil case may apply to the court for leave to proceed in forma pauperis.” Nev.
19   Loc. R. Prac. LSR 1-1. For an inmate to apply for in forma pauperis status, the inmate
20   must submit all three of the following documents to the Court: (1) a completed
21   Application to Proceed in Forma Pauperis for Inmate, which is pages 1–3 of the
22   Court’s approved form, that is properly signed by the inmate twice on page 3; (2) a
23   completed Financial Certificate, which is page 4 of the Court’s approved form, that is
24   properly signed by both the inmate and a prison or jail official; and (3) a copy of the
25   inmate’s prison or jail trust fund account statement for the previous six-month
26   period. See 28 U.S.C. § 1915(a)(1)–(2); Nev. Loc. R. Prac. LSR 1-2. In forma pauperis
27   status does not relieve an inmate of his or her obligation to pay the filing fee, it just means
28   that the inmate can pay the fee in installments. See 28 U.S.C. § 1915(b).
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1    II.     CONCLUSION
2            It is therefore ordered that Plaintiff has until December 20, 2024, to either pay the
3    full $405 filing fee or file a fully complete application to proceed in forma pauperis with all
4    three required documents: (1) a completed application with the inmate’s two signatures
5    on page 3, (2) a completed financial certificate that is signed both by the inmate and the
6    prison or jail official, and (3) a copy of the inmate’s trust fund account statement for the
7    previous six-month period.
8            Plaintiff is cautioned that this action will be subject to dismissal without prejudice if
9    Plaintiff fails to timely comply with this order. A dismissal without prejudice allows Plaintiff
10   to refile the case with the Court, under a new case number, when Plaintiff can file a
11   complete application to proceed in forma pauperis or pay the required filing fee.
12           The Clerk of the Court is directed to send Plaintiff the approved form application to
13   proceed in forma pauperis for an inmate and instructions for the same and retain the
14   complaint (ECF No. 1-1) but not file it at this time.
15
16           DATED: November 14, 2024
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18                                                UNITED STATES MAGISTRATE JUDGE
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